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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

IN RE: Hersch Goldstein                                            Case No: 22-15671/MBK
                                                                   Chapter 13

                  NOTICE OF MOTION TO VACATE THE AUTOMATIC
                      STAY TO PERMIT BEIT DIN LITIGATION

HEARING DATE: April 26, 2023 at 9:00 am


TO: Albert Russo                                    AND ALL CREDITORS
    Standing Chapter 13 Trustee                     and their counsel – see attached service list
    CN 4853
    Trenton, NJ 08650-4853


        PLEASE TAKE NOTICE that on the 26th day of April, 2023, at 9:00 A.M., the
undersigned, attorney for debtor, shall make application to this Honorable Court for an Order to
Vacate the Automatic Stay To Permit Beit Din litigation.


        PLEASE TAKE FURTHER NOTICE that the undersigned shall rely upon the attached
Certification of Hersch Goldstein, the arguments of counsel and such other and further proofs as
may be adduced at the hearing hereof.


        PLEASE TAKE FURTHER NOTICE that the moving party believes that no brief is
necessary in support of the within application due to the fact that the matter involves no complex
issues of law or fact.
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       PLEASE TAKE FURTHER NOTICE that if you wish to contest the within Motion,
you must file opposition with the office of the Clerk of the Bankruptcy Court, and serve upon the
undersigned, 7 days in advance of the aforesaid hearing, your responding papers stating with
particularity the basis of your opposition to the within Motion. A copy of the proposed Order
which is sought is enclosed with this Motion.




Dated: March 27, 2023                       /s/ Moshe Rothenberg, Esq.
                                            Moshe Rothenberg, Esq.
                                            Attorney for Debtor
